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April 13, 2022

Via Ecf
Honorable Joanna Seybert
United States District Court Judge
Eastern District of New York
Cadman Plaza
Brooklyn, New York

Re: USA vs. Leonardi et al. 2:21-cr-00452-JS-SIL

Honorable Judge Seybert:

      This letter is in reference to the above captioned matter wherein I represent
Anthony Cyntje. With the Consent of the Government I am requesting Mr. Cyntje be
permitted to attend an Easter Dinner with his family on Sunday April 17, 2022 at the
Punta Cana Restaurant at 414 North Broad Street Elizabeth, New Jersey from 3-7 pm. Pre
Trial Services consents to this request.

        Similarly, after consultation with Pre-Trial Officer, Edna Galarza from Trenton it
is now requested that Mr. Cyntje who is currently on Electronic Monitoring be converted
to “Curfew” with the hours to be determined by Pre-Trial to accommodate his work and
life schedule. The Government does not oppose this application either with of course the
proviso that should there be any tomfoolery this issue would be revisited immediately.

       Thank you for any time or consideration you give this matter.

I remain ,

/s/ Patrick J. Brackley
Patrick J. Brackley (PJB 6808)
